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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

                                                   )
In re:                                             )      Chapter 11 (Subchapter V)
                                                   )
Free Speech Systems, LLC,                          )      Case No. 22-60043 (CML)
                                                   )
                               Debtor.             )
                                                   )

  THE SANDY HOOK PLAINTIFFS’ WITNESS AND EXHIBIT LIST FOR HEARING
 SCHEDULED FOR AUGUST 3, 2022 AT 10:00 A.M. (PREVAILING CENTRAL TIME)


         Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel Fontaine

(collectively, the “Texas Plaintiffs”) and David Wheeler, Francine Wheeler, Jacqueline Barden,

Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi,

Carlos M. Soto, Jillian Soto-Marino, William Aldenberg, William Sherlach, and Robert Parker

(collectively, the “Connecticut Plaintiffs”, and, together with the Texas Plaintiffs, the “Sandy

Hook Plaintiffs”, creditors and parties-in-interest in the above-captioned case (“Bankruptcy

Case”), file their Witness and Exhibit List for the hearing to be held on August 3, 2022, at 10:00

a.m. (prevailing Central Time) (the “Hearing”) as follows:

                                          WITNESSES

         The Sandy Hook Plaintiffs may call the following witnesses at the Hearing:

            1. W. Marc Schwartz.

            2. Any witness called or designated by any other party.

            3. Any witness necessary to rebut the evidence or testimony of any witness offered or
               designated by any other party
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                                         EXHIBITS
EXHIBIT




                                                                   OBJECT

                                                                            ADMIT
                                                           OFFER
                                                    MARK
                                                                                          DISPOSITION




                                                                                    W/D
                      DESCRIPTION
                                                                                          AFTER TRIAL


   1.       Debtor’s Voluntary Petition for Non-
            Individuals Filing for Bankruptcy
            [Docket No. 1].
   2.       Debtor’s Emergency Motion for
            Interim and Final Orders (I)
            Authorizing the Use of Cash
            Collateral Pursuant to Section 105,
            361, and 363 of the Bankruptcy Code
            and Federal Rule of Bankruptcy
            Procedure 4001(b) and (II) Granting
            Adequate Protection to the Pre-
            Petition Secured Lender [Docket No.
            6].
   3.       Declaration of W. Marc Schwartz in
            Support of Voluntary Petition and
            First Day Motions [Docket No. 10].
   4.       Debtors’ Emergency Application for
            Interim and Final Orders (A)
            Authorizing Employment of W. Marc
            Schwartz as Chief Restructuring
            Officer, (B) Authorizing Employment
            of Staff of Schwartz Associates, LLC
            in Discharge of Duties as Chief
            Restructuring Officer, and (C)
            Granting Related Relief, In re InfoW,
            LLC et al., Case No. 22-60020-CML
            (Bankr. S.D. Tex) [Docket No. 7].
   5.       Declaration of W. Marc Schwartz
            Regarding Bankruptcy Code §
            1116(1) Requirements, In re InfoW,
            LLC et al., Case No. 22-60020-CML
            (Bankr. S.D. Tex) [Docket No. 42-1].




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EXHIBIT




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                      DESCRIPTION
                                                                                           AFTER TRIAL


   6.       Signed Stipulation and Agreed Order
            Dismissing Debtors’ Chapter 11
            Cases, In re InfoW, LLC et al., Case
            No. 22-60020-CML (Bankr. S.D.
            Tex) [Docket No. 114].
   7.       Transcript of Hearing dated A, pr. 22,
            2022, In re InfoW, LLC et al., Case
            No. 22-60020-CML (Bankr. S.D.
            Tex).
   8.       Mary Papenfuss, Alex Jones Gloats
            About Bankruptcy Plot To Tie Up
            Sandy Hook Damages ‘For Years’,
            MSN (Aug. 1, 2022),
            https://www.msn.com/en-
            us/money/other/alex-jones-gloats-
            about-bankruptcy-plot-to-tie-up-
            sandy-hook-damages-for-years/ar-
            AA10cDan?ocid=msedgntp&cvid=d
            8d7f30d75c7420b82d47ad87af8f803.
   9.       Order on Plaintiff’s Motion for
            Default Judgment, Heslin v. Jones,
            Case No. D-1-GN-18-001835 (Tex.
            Dist. Ct. Sept. 27, 2021).
   10.      Court’s Ruling, Lafferty et al. v.
            Jones, et al., XO6 UWY CVlS-
            6046436-S, Sherlach et al. v. Jones,
            et al., Case Nos. XO6 UWY CVlS-
            6046437-S, XO6 UWY CVlS-
            6046438-S (Conn. Sup. Ct. Nov. 15,
            2021).
   11.      Oral and Videotaped Deposition of
            Brittany Paz, Corporate
            Representative of Free Speech
            Systems, LLC, Fontaine v. InfoWars,
            LLC, Cause No. D-1-GN-18-001605
            (Tex. Dist. Ct. Feb. 15, 2022).
   12.      Deposition Notes by Corporate
            Representative of Free Speech
            Systems, LLC, dated Feb. 15, 2022.
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   EXHIBIT




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                            DESCRIPTION
                                                                                                  AFTER TRIAL


      13.        Plaintiffs’ Original Petition, Heslin v.
                 Jones, Cause No. D-1-GN-22-001610
                 (Tex. Dist. Ct. filed Apr. 4, 2022).
      14.        Oral and Videotaped Deposition of
                 Alex Jones, Volume III, Lafferty et
                 al. v. Jones, et al., XO6 UWY CVlS-
                 6046436-S, Sherlach et al. v. Jones,
                 et al., Case Nos. XO6 UWY CVlS-
                 6046437-S, XO6 UWY CVlS-
                 6046438-S (Conn. Sup. Ct. June 21,
                 2022).
      15.        Videotaped Deposition of Brittany
                 Paz, Volume III, Lafferty et al. v.
                 Jones, et al., XO6 UWY CVlS-
                 6046436-S, Sherlach et al. v. Jones,
                 et al., Case Nos. XO6 UWY CVlS-
                 6046437-S, XO6 UWY CVlS-
                 6046438-S (Conn. Sup. Ct. June 21,
                 2022).

      16.        Any document or pleading filed in the
                 above-captioned main cases

      17.        Any exhibit necessary for
                 impeachment and/or rebuttal
                 purposes

      18.        Any exhibit identified or offered by
                 any other party

                                      RESERVATION OF RIGHTS

             The Sandy Hook Plaintiffs reserve the right to call or to introduce one or more, or none, of

the witnesses and exhibits listed above, and further reserve the right to supplement this list prior

to the Hearing.



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Dated: August 3, 2022

                                              Respectfully submitted,

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                                              WILLIAMS & AUGHTRY, PC

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                                              -and-

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                                              Counsel for Connecticut Plaintiffs




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                                    Certificate of Service

        I certify that on August 3, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                     /s/ Jarrod B. Martin
                                                     Jarrod B. Martin




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